                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           DOCKET NO. 3:09-cr-00084-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 v.                                             )                    ORDER
                                                )
 ROBERT TRULL,                                  )
                                                )
                 Defendant.                     )



        THIS MATTER is before the court on the Violation Report of the U.S. Probation Office

(#97). A hearing was held on this matter on November 29, 2016. At the hearing, the defendant

admitted that he had been arrested in Union County, North Carolina for law violations related to

drugs and alcohol. These charges are pending in Union County.

                                          ORDER

        IT IS, THEREFORE, ORDERED that the bond previously ordered in this case

pursuant to the Judgment (#96) is hereby revoked. The defendant will be remanded immediately

to the Bureau of Prisons.


                                Signed: December 1, 2016




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